                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

PEGGY LAGROW,                                         )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )       Civil No. 3:17-cv-00700
                                                      )       Judge Trauger
PROG LEASING, LLC,                                    )
                                                      )
        Defendant.                                    )


                                             ORDER

        The court has been notified that this case has settled. It is hereby ORDERED that a

stipulation of dismissal or other settlement document shall be filed within twenty (20) days of the

entry of this Order.

        It is so ORDERED.

        ENTER this 9th day of April 2018.



                                                      ________________________________
                                                      ALETA A. TRAUGER
                                                      U.S. District Judge




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